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                                           June 3, 2021

 VIA ECF

 Honorable Loretta Preska
 United States District Judge
 Daniel Patrick Moynihan U.S. Courthouse
 500 Pearl Street
 New York, New York 10007


  RE:     Chevron v. Donziger, Case No. 19 Cr. 561 (LAP)

Dear Judge Preska:

       You have had a long and distinguished career on the federal bench. You have earned the
respect of judges, lawyers and other members of your community. You have repeatedly been
honored by high public officials. The defense therefore moves for recusal under 28 U.S.C. § 455
and for dismissal of all charges against Mr. Donziger before any more public judicial resources
are wasted in service to Chevron’s private agenda.

        To ensure the record is clear, here are some of the problems:

       This Court has abandoned its duties to the public to create a powerful protective wall for
Chevron. The evidence adduced at trial has proven that this Court must recuse itself and that this
Chevron prosecution, by Chevron-selected judges and a Chevron prosecutor, must be dismissed.
The court’s personal involvement with the Chevron private prosecutor—who deliberately withheld
evidence on a variety of factual issues regarding her secret communications with Judge Kaplan
and the Chevron lawyers—is an appalling display of misconduct.

        The Court said it had no valid discoverable evidence relating to its appointment or the
appointment of the Chevron prosecutor, Rita Glavin. The Court had a monopoly on the ability to
get this discoverable evidence, but then blocked every attempt by the defense to produce facts that
would support our claim of an unconstitutional and illegal private corporate prosecution.

        The Chevron prosecutor was in court for days, twenty feet away from Your Honor. The
Court could have asked the admittedly unsupervised Chevron prosecutor a whole host of questions
which would have shed light on the mystery of who, if anyone, supervises these inferior officers
acting in the name and with the powers of the government of the United States. The Chevron
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prosecutor, previously criticized by a federal appeals court in the Senator Stevens case for
withholding information critical to the defense, did the same thing here and sat mute.

        The Chevron prosecutor in this case refused to submit any factual affidavits on the
critical issues presented related to the violation of Mr. Donziger’s rights. This Court, faced with
allegations of its own impropriety, also refused our request that it submit proof including a factual
affidavit on the Constitutional issue. We previously argued that the Court has shown a remarkable
reluctance to investigate the facts of what was obviously a Chevron-orchestrated and Chevron-
financed prosecution — the first corporate prosecution in U.S. history.

        The proof at trial showed the Court s active involvement in the suppression of evidence
and facts. Geoffrey Berman, United States Attorney for the Southern District of New York,
refused to prosecute Mr. Donziger even knowing all the pertinent facts regarding Judge Kaplan’s
charges. Mr. Berman was fired by William Barr and Donald Trump for, amongst other
misdemeanors, allegedly not pursuing Trump’s enemies and not protecting Trump’s friends.
Rudolph Giuliani, whose law firm was described as one of the most important lobbyist firms for
the oil and gas industry, was one of those Trump allegedly protected.

        We do know that Donald Trump received great support from the oil and gas industry,
including massive support for his presidential campaign, his inauguration party, and those efforts
that led to the January 6, 2021 events in Washington D.C. We do not know if one of the reasons
for Mr. Berman’s firing was his refusal to prosecute Chevron’s demonized enemy, Steven
Donziger. We have been precluded from finding out. If this actually happened, it would invalidate
any conviction.

        Prior to trial, the defense made allegations that there has never been a case like this in
the entire history of the United States. The trial has shown this to be true, and it is now undisputed.
The proof has shown that Chevron hand-picked Judge Kaplan to preside over the Civil RICO trial,
and that he hand-picked Your Honor and the private prosecutors. The proof has also shown the
vast amount of money that Chevron has spent on this prosecution, and these factors, taken together,
require recusal and dismissal.

         The elephant in the room, the Chevron prosecutor who remained silent in the face of
legitimate questions regarding who supervises her and the nature of her contacts with Judge
Kaplan, looms larger and larger. The nonspeaking Chevron prosecutor, with the Courts ’
acquiescence, suffocates justice. This court is knowingly participating, joining in, creating, and
permitting an unconstitutional conviction for the benefit of Chevron. We believe this Court, after
this trial, should immediately recuse itself. What was apparent before trial has sadly become even
more clear now.
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        I request oral argument. Of course, that is in your discretion. Both you and the appellate
court are entitled to hear from the thus far silent prosecutor on these issues.

                                                    Respectfully,

                                                        /s
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